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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

RICHARD GILLIAM                                                            PLAINTIFF
#209415

v.                        Case No. 4:19-cv-00740 BSM

STEFFEN, OIC, Lonoke County
Detention Center                                                         DEFENDANT

                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed with prejudice.

            IT IS SO ORDERED this 31st day of August, 2020.


                                                 UNITED STATES DISTRICT JUDGE
